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                          UNITED STATES BANKRUPTCY COURT
                                            Northern District of Iowa
In Re: Kimberly Ann Trevallion
                                                            Case No.: 07−02399
       Debtor(s)
                                                            Chapter: 7


                                                FINAL DECREE

The estate of the above−named debtor(s) has been fully administered.

IT IS ORDERED THAT

                                                  Sheryl Schnittjer


is discharged as trustee of the estate of the above−named debtor(s);

IT IS FURTHER ORDERED THAT the Chapter 7 case of the above−named debtor(s) is closed.



Dated: 4/9/08

                                                            Sean F. McAvoy
                                                            Bankruptcy Clerk
